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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW HAMPSHIRE


 John Doe,
     Plaintiff,                              Civil Action No. 1:21-cv-00944-JL
     v.
                                             Memorandum in Support of Motion to
 Town of Lisbon and New Hampshire            Intervene
 Department of Justice,
     Defendants.




      Eugene Volokh, a professor at UCLA School of Law, moves to intervene to unseal

the unredacted state court record filed in this Court and oppose the continued pseu-

donymity of the plaintiff. (The motion to unseal and to oppose pseudonymity is being

filed separately, as per Local Rule 7.1(a).) Volokh would like to write about this case,

in his academic work and at his blog, hosted by Reason Magazine, http://reason.com/

volokh; but he is unable to do so effectively because plaintiff’s name is not included

in the court file, and because the unredacted state court record, filed in this Court, is

sealed. He is therefore seeking to intervene to assert his own common law and First

Amendment right of access to court records.

I.        Volokh has standing because he has suffered an injury to his right of
          public access that can be redressed through intervention

      Professor Eugene Volokh has standing. “Courts, including this one, routinely have

found that third parties have standing to assert their claim of access to documents in

a judicial proceeding.” Pub. Citizen v. Liggett Group, Inc., 858 F.2d 775, 787 (1st Cir.

1988). A plaintiff suffers an Article III injury when he is denied information to which



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he is entitled under a statute, notwithstanding “[t]he fact that other citizens or groups

of citizens might make the same complaint after unsuccessfully demanding disclo-

sure.” Pub. Citizen v. U.S. Dep’t of Justice, 491 U.S. 440, 449-50 (1989). The same

applies when a plaintiff is denied information to which he has a nonstatutory right:

“although [intervenor’s] right of access stems not from a statute but from the Consti-

tution and common law, the nature of their alleged injury is indistinguishable.” Doe

v. Public Citizen, 749 F.3d 246, 264 (4th Cir. 2014) (so holding as to a motion to in-

tervene to oppose pseudonymity and sealing).

II. Volokh is entitled to intervene under Rule 24

   “When a third party essays a challenge to a sealing order, permissive intervention

is the procedurally correct vehicle.” R & G Mortg. Corp. v. Fed. Home Loan Mortg.

Corp., 584 F.3d 1, 11 (1st Cir. 2009). The same applies to challenges to pseudonymity.

Does 1-6 v. Mills, No. 1:21-CV-00242-JDL, 2021 WL 6197377, *1-*2 (D. Me. Dec. 30,

2021).

   Indeed, the reasoning of Does 1-6 v. Mills applies squarely here:

   Courts have discretion to allow permissive intervention pursuant to Federal
   Rule of Civil Procedure 24(b) upon a timely showing that the “putative
   intervenor ‘has a claim or defense that shares with the main action a common
   question of law or fact.’” Ne. Patients Grp. v. Me. Dep’t of Admin. & Fin. Servs.,
   No. 1:20-cv-00468, 2021 WL 1135019, at *2 (D. Me. Mar. 23, 2021) (quoting
   Fed. R. Civ. P. 24(b)(1)(B)). When the party moving to intervene does so for a
   limited purpose and does not seek to become a party to the litigation, the
   nexus-of-fact-or-law requirement is loosened, and “[s]pecificity, e.g., that the
   intervenors’ claim involve the same legal theory that was raised in the main
   action, is not required.” Pansy v. Borough of Stroudsburg, 23 F.3d 772, 778 (3d
   Cir. 1994). Instead, if a party seeks “to intervene in a case for the limited
   purpose of unsealing judicial records, most circuits have found that “there is
   no reason to require such a strong nexus of fact or law.” Flynt v. Lombardi, 782
   F.3d 963, 967 (8th Cir. 2015).



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2021 WL 6197377, at *1 (some citations omitted).

   Volokh’s motion is indeed timely, because it will not “unduly delay or prejudice

the adjudication of the original parties’ rights.” T-Mobile Ne. LLC v. Town of Barn-

stable, 969 F.3d 33, 40 (1st Cir. 2020) (quoting Fed. R. Civ. P. 24(b)(3)); Does 1-6, 2021

WL 6197377, *2. Volokh’s role in the litigation will be complete upon resolution of his

motion, and such limited intervention “will not delay the proceedings or prevent the

parties from adjudicating the case on the merits.” Parson v. Farley, 352 F. Supp. 3d

1141, 1150 (N.D. Okla. 2018). In any case, “delays measured in years have been tol-

erated where an intervenor is pressing the public’s right of access to judicial records.”

San Jose Mercury News, Inc. v. U.S. District Court—Northern District (San Jose), 187

F.3d 1096, 1101 (9th Cir. 1999).

   Volokh’s interests are also not adequately represented by the defendants, because

they would not benefit the way Volokh would from having public access to the unre-

dacted record and to plaintiff’s name. They therefore likely do not have the incentive

to invest time and resources into litigating a public access issue.

   Finally, the Rule 24(c) requirement of a separate pleading does not apply here.

Does 1-6, 2021 WL 6197377, *3 (“Here, no new claim or defense will be added to the

existing suit if intervention is granted, nor will additional parties to the litigation be

joined in relation to the merits of the Plaintiffs’ claims. Thus, this is an instance in

which a pleading is not necessary.”).




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   For these reasons, Volokh asks that he be allowed to intervene for the limited

purpose of moving to unseal the state court record and moving to oppose pseudonym-

ity.

                                       Respectfully Submitted,

                                       s/ Eugene Volokh

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                              Certificate of Service

   I certify that today, April 21, 2022, I served this document on the parties via e-

mail, with their consent.

                                       s/ Eugene Volokh




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